UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------X
                                                                                   1:20-cv-00485
  Edmondson et al                                                                 __________________
                                   Plaintiff(s)
  v.                                                                              NOTICE OF MOTION
                                                                                  TO ADMIT COUNSEL
  Raniere et al                                                                   PRO HAC VICE
                                   Defendant(s)
---------------------------------------------------------X

TO:      Opposing Counsel
         ________________________________

         ________________________________

PLEASE TAKE NOTICE that upon the annexed affidavit of movant in support of this motion and

                                                       Agnieszka M. Fryszman will move this
the Certificate(s) of Good Standing annexed thereto, I ___________________

Court pursuant to Rule 1.3(c) of the Local Rules of the United States District Courts for the

Southern and Eastern Districts of New York for an order allowing the admission of movant, a

                       Cohen Milstein Sellers & Toll PLLC and a member in good standing of
member of the firm of _____________________________

                               New Jersey and Washington DC
the bar(s) of the State(s) of ____________________________________, as attorney pro hac

vice to argue or try this case in whole or in part as counsel for

  all Plaintiffs
______________________________________________. There are no pending disciplinary

proceedings against me in any state or federal court. (If there are any disciplinary proceedings,

describe them.)

                                                             Respectfully submitted,

Dated: ____________                                          _______________________________________
                                                             Signature of Movant
                                                                          Cohen Milstein Sellers & Toll PLLC
                                                             Firm Name______________________________
                                                                        1100 New York Ave, Floor 8
                                                             Address_________________________________
                                                              Washington, DC 20005
                                                             ________________________________________
                                                                    AFryszman@cohenmilstein.com
                                                             Email___________________________________
                                                                     202-408-4611
                                                             Phone___________________________________
